                       Case 2:19-cv-00051-DPM Document 6 Filed 06/20/19 Page 1 of 2
(Post 0/201) Notice Regarding Magistrate Judge Consent Program



                                       UNITED STATES DISTRICT COURT
                                                  EASTERN DISTRICT OF ARKANSAS
                                                               Eastern Division

               Jerry Smith, Reg #29176-001                              )
                               Plaintiff                                )
                                  v.                                    )   Case No. 2:19-cv-00051-DPM-JTK
 Dewayne Hendrix Warden, FCI Forrest City Low                           )
                              Defendant                                 )

                                            MAGISTRATE JUDGE CONSENT PROGRAM
                                             (MANDATORY RESPONSE REQUIRED)



       Enclosed you will find a form titled Notice, Consent and Reference of a Civil Action to a United States
Magistrate Judge. If the parties consent, a Magistrate Judge will conduct all further proceedings in this case,
including trial and entry of final judgment, with direct review by the United States Court of Appeals if an
appeal is filed.


       Consent to proceed before a Magistrate Judge is entirely voluntary. There will be no adverse,
substantive consequences if you do not consent. Even if you do not consent, under Local Rule 72.1, however,
a Magistrate Judge will still handle all non-dispositive pretrial motions in your case until ten days before trial.


      You must return the Consent Form to the Clerk of Court’s office within 21 days indicating
whether or not you consent.



                                                                     JAMES W. McCORMACK, CLERK




Mail Attached Form To: Clerk of Court
                       United States District Court
                       Eastern District of Arkansas
                       600 West Capitol Avenue, Room A-149
                       Little Rock, Arkansas 72201
                        Case 2:19-cv-00051-DPM Document 6 Filed 06/20/19 Page 2 of 2
(Post 0/201) Notice, Consent and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF ARKANSAS
                                                                  Eastern Division
                Jerry Smith, Reg #29176-001                                     )
                                 Plaintiff
                                                                                )
                                    v.                                          )      Case No. 2:19-cv-00051-DPM-JTK
  Dewayne Hendrix Warden, FCI Forrest City Low                                  )
                                Defendant                                       )

                                  NOTICE, CONSENT AND REFERENCE OF A CIVIL ACTION
                                    TO MAGISTRATE JUDGE JEROME T. KEARNEY
                                          (MANDATORY RESPONSE REQUIRED)
          Notice of a Magistrate Judge’s availability. A United States Magistrate Judge of this court is available to conduct all
proceedings in this civil action and to order the entry of a final judgment. The judgment may then be appealed directly to the
United States Court of Appeals like any other judgment of this court. A Magistrate Judge may exercise this authority only if
all parties voluntarily consent.
        You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.
       You must return this form to the Clerk of Court's office within 21 days from date of this notice regardless of
whether or not you are consenting to the exercise of jurisdiction by a United States Magistrate Judge.


          Election to have case remain with a United States District Judge.

          Consent to a Magistrate Judge’s authority. The following parties consent to have a United States Magistrate Judge
          conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                    Signatures of parties or attorneys                    Dates




                                                                     Reference Order

        IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                 District Judge’s signature



                                                                                                  Printed name and title
